                       Case 4:15-cr-00038-JM                Document 809                Filed 09/28/17           Page 1 of 9
                                                                                                                             FILED
                                                                                                                         U.S. DlSTRICT COURT
AO 245B (Rev. 11/16)   Judgment in a Criminal Case                                                                   EASTERN DISTRICT ARKANSAS
                       Sheet I



                                         UNITED STATES DISTRICT COUR]AMESW
                                                                                                    By:_--1--+-1-1-----+-n:-:~-=
                                                           Eastern District of Arkansas
                                                                        )
              UNITED STATES OF AMERICA                                  )      JUDGMENT IN A CRIMINAL CAS
                                  v.                                    )
             CHRISTOPHER GRANT WATSON
                                                                        )
                                                                               Case Number: 4:15cr00038-01 JM
                                                                        )
                                                                        )      USM Number: 28955-009
                                                                        )
                                                                        )       Mark Hampton
                                                                        )      Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)         1, 2, and 3 of Superseding Information
                                                                      -------------------------
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended
 18 USC§ 371                       Conspiracy to Possess with Intent to Distribute and to                     1/27/2015                   1
                                   Distribute Hydrocodone

 18 USC§ 1347                      Health Care Fraud                                                         1/27/2015                    2

       The defendant is sentenced as provided in pages 2 through           __
                                                                            8 _ _ ofthis judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

D Count(s)                                              Dis        Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material cnanges in econormc circumstances.




                                                                          U. S. DISTRICT JUDGE JAMES -
                                                                        ----------------~
                                                                                                     M. -
                                                                                                        MOODY JR.
                                                                                                          ----------
                                                                         Name and Title of Judge



                                                                        _1(-zsf11~~--~~~~~-
                                                                         Datc
                       Case 4:15-cr-00038-JM            Document 809            Filed 09/28/17     Page 2 of 9
AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet IA
                                                                                                 Judgment-Page   _2_ of    8
DEFENDANT: CHRISTOPHER GRANT WATSON
CASE NUMBER: 4:15cr00038-01 JM

                                          ADDITIONAL COUNTS OF CONVICTION
Title & Section                  Nature of Offense                                        Offense Ended            Count
31 USC§ 5324(a)(3),and            Structuring Transactions to Evade Reporting              1/27/2015                3
31 USC§ 5324(d)                   Requirement Prohibited
                        Case 4:15-cr-00038-JM              Document 809            Filed 09/28/17         Page 3 of 9
AO 245B (Rev. 11/16) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                     Judgment - Page   --'3'--- of   8
 DEFENDANT: CHRISTOPHER GRANT WATSON
 CASE NUMBER: 4:15cr00038-01 JM

                                                            IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
             60 MONTHS on Count 1; 120 MONTHS on Count 2; 60 MONTHS on Count 3, all to run concurrent




     liZJ   The court makes the following recommendations to the Bureau of Prisons:
The Court recommends the defendant be designated to Texarkana or Millington BOP and that the defendant participate in
non-residential substance abuse treatment and educational and vocational programs.



    D The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
            D at                                  D a.m.       D p.m.      on

            D as notified by the United States Marshal.

    ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            ~ before 2 p.m. on         1/3/2018

            D as notified by the United States Marshal.
            D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:




            Defendant delivered on                                                     to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL



                                                                          By - - - - - - - - - - - - - - - - - - - - - - -
                                                                                             DEPUTY UNITED STATES MARSHAL
                       Case 4:15-cr-00038-JM             Document 809            Filed 09/28/17          Page 4 of 9
AO 245B (Rev. 11/16) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                      Judgment-Page     4    of         8
DEFENDANT: CHRISTOPHER GRANT WATSON
CASE NUMBER: 4:15cr00038-01 JM
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:       THREE (3) YEARS



                                                    MANDATORY CONDITIONS
I.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             D The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.    D You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                                                  5 _ _ of _ _ _8_ __
                                                                                                Judgment-Page _ _ _
DEFENDANT: CHRISTOPHER GRANT WATSON
CASE NUMBER: 4:15cr00038-01 JM

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
l 0.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.    You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
                                                                                                                 -----------~
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AO 2458 (Rev. 11116)   Judgment in a Criminal Case
                       Sheet 38 - Supervised Release
                                                                                             Judgment-Page __6__ of          8
DEFENDANT: CHRISTOPHER GRANT WATSON
CASE NUMBER: 4:15cr00038-01 JM

                                     ADDITIONAL SUPERVISED RELEASE TERMS
 14) The defendant will participate under the guidance and supervision of the probation office in a substance abuse
 treatment program which may include drug and alcohol testing, outpatient counseling, and residential treatment. The
 defendant will abstain from the use of alcohol during supervision. The defendant will pay for the cost of treatment at the
 rate of $10 per session, with the total cost not to exceed $40 per month, based on ability to pay as determined by the
 probation office. In the event the defendant is financially unable to pay for the cost of treatment, the co-pay requirement will
 be waived.

 15) The defendant must disclose his substance abuse history to prescribing physicians and allow the probation office to
 verify disclosure.

 16) The defendant provide the probation office with access to any requested financial information (including financial gains)
 and authorize the release of any financial information. The probation office may share financial information with the U.S.
 Attorney's Office.

 17) The defendant must not incur new credit charges or open additional lines of credit without the approval of the probation
 office unless all criminal penalties have been satisfied.
                       Case 4:15-cr-00038-JM                   Document 809               Filed 09/28/17        Page 7 of 9
AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                          Judgment -Page -~7~_ of           8
 DEFENDANT: CHRISTOPHER GRANT WATSON
 CASE NUMBER: 4:15cr00038-01 JM
                                               CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                  JVTA Assessment*                  Fine                       Restitution
TOTALS              $ 300.00                    $ 0.00                            $ 0.00                     $ 54,000.00



 D The determination of restitution is deferred until - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

 D     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned paynient, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664{1), all nonfederal victims must be paid
       before the United States is paid.

  Name of Payee                                                               Total Loss**      Restitution Ordered Priority or Percentage
      Medicare                                                                     $54,000.00              $54,000.00




TOTALS                                                                  $            54,ooo.oo s___~54~.o~o~o~.o~o


D       Restitution amount ordered pursuant to plea agreement $

D       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(±). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

!ti     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        !ti the interest requirement is waived for the         D fine       !ti restitution.
        D the interest requirement for the         D fine       0   restitution is modified as follows:

*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
**Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
AO 245B (Rev. 11/16)
                           Case    4:15-cr-00038-JM
                           Judgment in a Criminal Case
                                                                   Document 809               Filed 09/28/17            Page 8 of 9
                           Sheet 6 -   Schedule of Payments

                                                                                                                                     8_ of
                                                                                                                    Judgment -Page _ _                        8
 DEFENDANT: CHRISTOPHER GRANT WATSON
 CASE NUMBER: 4:15cr00038-01 JM

                                                              SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A        iZ'.i Lump sum payment of$             850,300.00           due immediately, balance due

                 0      not later than                                    , or
                 liZI   in accordance with     0 C,       0 D,       0     E, or     liZI F below; or
B        0       Payment to begin immediately (may be combined with                oc,         OD, or        0 F below); or
C        0       Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                                (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D        0       Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                                (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
                 term of supervision; or

E        O       Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
                 imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F        iZ'.j   Special instructions regarding the payment of criminal monetary penalties:

                 In addition to (A), restitution in the amount of $54,000 is also due immediately, and any unpaid balance will be
                 payable during incarceration. During incarceration, the defendant will pay 50 percent per month of all funds that
                 are available to her. During residential re-entry placement, payments will be 1O percent of the defendant's gross
                 monthly income. Beginning the first month of supervised release, payments will be 1O percent per month of the
                 defendant's monthly gross income.
Unless the court has expressly ordered otherwise, if this jud&ment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




0        Joint and Several

         Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
         and corresponding payee, if appropriate.




0        The defendant shall pay the cost of prosecution.

0        The defendant shall pay the following court cost(s):

l!Z'.iThe defendant shall forfeit the defendant's interest in the following property to the United States:
     A sum of money in the amount of $850,000, all ammunition seized on January 27, 2015, and the property described in
     attached EXHIBIT A
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, ( 6) commuruty restitution, (7) JVT A assessment, (8) pena1tJ.es, and (9) costs, mcludmg cost of prosecution and court costs.
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EXHIBIT A
            SLRI \L #       T\PE       C \UBER          \I \:\l F \( I l RI R              \IODrl
   I         M007181         MG           223                  DPMS                         M-160
   2        113MV04362       Shot         12                 Browning                    Sporting Clay
   3         94-0009S42     Pistol       9mm                  Cobray                        CM-11
   4          LOOJ437        Rifle        223                Bushmaster                   Xm-JS-E2S
   s           MG70          MG          9mm                Coharie Arms                     MPS
   6           MG72          MG          7.62                   JSS                         AK.47
   7         35S-0378S       Rifle        22                   Ruger                        22-0ct
   8         N624773K        Shot         20                 Remington                        1100
   9         S6292067        Rifle      22 I 2SO            Remington                          700
   JO        K328247         Rev          22              Smith & Wesson                        17
   II       51SMZ07882      Pistol        22                 Browning                     Buckmark
   12         1147734       Pistol        22                  Jimenez                       JA22
   13        RS47417A        Shot         12                 Remington                         870
   14         A250069       Pistol       9mm                   S&W                             59
   15       655NZ24801      Pistol        22                 Browning                      Buckmark
   16         TB09801        Rev          22                    FIE                          EIS
   17        W3227S6         Rev          38                   Rossi                         M88
   18        AD78866         Rev          22                   H&R                           930
   19        411-35585      Shot          12                   Ruger                       Red Label
   20         B29213         Rev          22               Heritage Arms
   21        J922840Z       Pistol       9mm                  Beretta                         92Al
   22         V388384        Rev          38              Smith & Wesson              M&P I Victory Model
   23        DHZ94572        Rev           22              Heritage Arms                Rough Rider
   24        DS232647        Rev        45 I 410               Taurus                         Judge
   25        PWB380         Pistol        357                  Glock                           31
   26       B2910235M        Rifle        22                 Remington                        597
   27       DM01252K        Rifle       223 I 56               DPMS                           AR15
   28        82909211       Rifle         22                   Ruger                        22-0ct
   29        11-56261       Pistol        22                   Ruger                          MKI
   30       FX3UOOJ099      Pistol        45                   FNH                         FNX-45
   31        386221378      Pistol      5.7 x 28               FNH                             57
   32        70303854       Rifle       77 I 17                Ruger                      All weather
   33         R22643        Pistol        22                  Beretta                     U22NEOS
   34       35734MW351      Rifle         25                 Browning                         Abolt
   3S        RIS3861J        Shot         28                 Remington                        1100
   36         JTI0262        Rev        45 /4!0          Magnum Research                      BFR
   37         1794852        Shot         12                 Winchester                        12
   38         KC1390         Shot         12                   Marlin                     L.C Smith
   39        680-04104      RIFLE         308             STURM RUGER
   40       NW 272168        Shot        410              NEW ENGLAND                     PARDNER
   41        HX319945       RIFLE       45-70        HERRINGTON/RICHARDSON
   42        P246323        SHOT          410              SPRINGFILED                        940E
   43          4886         RIFLE         4S          AUTO ORDNANCE CORP                   1927Al
   44         WU700         SHOT          12               Iver Johnson                   Champion
   4S         XG3549        SHOT          16                BROWNING                      SWEET 16
   46       98DU-2158       SHOT          12               REMINGTON                          11-87
   47          59926        SHOT          16               BROWNING                       SWEET 16
   48       M71736846       RIFLE       30-06              REMINGTON                          770
   49          1081         RIFLE        270                    FN                       UNKNOWN
   so         77191         RIFLE         50                ARMALITE                       AR-50
   51          BP34         RIFLE         22               REMINGTON                       NYLON
   52         213007         RIFLE        300               ARMALITE                        AR-30
   S3         PTT498        PISTOL       357                GLOCK                              31
   54          70962      SUPRESSOR       40          AWC SYSTEMS TECHNO
   S5          70939      SUPRESSOR      45           AWC SYSTEMS TECHNO                  NEXUS III
   56        BA003010       PISTOL       556            ROCK RIVER ARMS                    LARPPS
   57        T0000684       Rifle        223                  !WI                         TAYOR
   58        3A000934       RIFLE        338               ARMALITE                       AR-30Al
   S9        CM258008       RIFLE        556            ROCK RIVER ARMS                    LAR-15
   60        LE253716       RIFLE        556                 COLT                            M4
   61        FI08457        RIFLE        6.8                   DPMS                         A-150
   62       20C060082       RIFLE        556                    SIG                         M400
